                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:01CR178

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                        ORDER
JAMES EDWARD BYRD, III,             )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on its own Motion. On November 7, 2003, a jury

found Defendant guilty of conspiracy to possess with intent to distribute a quantity of cocaine

base, in violation of 21 U.S.C. §§ 841(a)(1) and 846. On October 26, 2004, this Court sentenced

Defendant to 360 months imprisonment. Judgment was entered on December 16, 2004.

Defendant filed a Notice of Appeal on October 26, 2004. On September 19, 2005, the United

States Court of Appeals for the Fourth Circuit affirmed Defendant’s conviction but vacated

Defendant’s sentence and remanded Defendant for re-sentencing pursuant to United States v.

Booker, 125 S. Ct. 738 (2005). In reaching its decision regarding Defendant’s sentence, the

Fourth Circuit found that this Court erroneously sentenced Defendant under the mandatory

federal sentencing guidelines and enhanced his sentence based upon facts found by a

preponderance of the evidence. Specifically, this Court established a base level offense of thirty-

six based upon a finding that Defendant was responsible for 874 grams of cocaine base, and

further increased Defendant’s base offense level by two levels under U.S.S.G. § 3A1.2(a). The

Fourth Circuit concluded this means of sentencing Defendant violated the Sixth Amendment.

The Mandate issued on October 11, 2005. On September 13, 2006, Defendant filed a Sentencing

Memorandum.



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       Defendant is currently scheduled for re-sentencing on October 26, 2006. However, in

order for the Court to properly prepare for this re-sentencing, the Court requests that the

Government file a Response to Defendant’s Sentencing Memorandum and further address any

other sentencing issues raised by the Fourth Circuit’s September 19, 2005 opinion.

       IT IS, THEREFORE, ORDERED that the Government has ten (10) days from the date

of this Order to file a Response to Defendant’s Sentencing Memorandum and to the Fourth

Circuit’s September 19, 2005 opinion remanding this matter for re-sentencing.



                                                 Signed: October 3, 2006




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